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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                            )
                                                   )    Chapter 7
 KERRY R. SCOTT,                                   )
                                                   )    Case No. 14-12965-AMC
                                 Debtor.           )
                                                   )

       FIRST AND FINAL FEE APPLICATION FOR COMPENSATION AND
  REIMBURSEMENT OF EXPENSES OF GELLERT SCALI BUSENKELL & BROWN,
     LLC AS COUNSEL TO THE CHAPTER 7 TRUSTEE FOR THE PERIOD OF
                JULY 17, 2014 THROUGH FEBRUARY 14, 2018

               In accordance with 11 U.S.C. §§ 330, 331 of the Bankruptcy Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2016-1 of the Local Rules of the United States Bankruptcy Court for the Eastern District of

Pennsylvania (the “Local Rules”), Gellert Scali Busenkell & Brown LLC (“GSBB”) as counsel to

the Chapter 7 trustee (the “Chapter 7 Trustee”) in the above-captioned case of the Debtor (the

“Debtor”), hereby applies (the “Application”) for first and final award of compensation in the amount

of $7,495.50 and reimbursement of expenses in the amount of $0.00, for the period from July 17,

2014 through February 14, 2018 (the “Application Period”). In support of this Application, GSBB

represents as follows:

                                Preliminary Statement and Background

          1.       On July 17, 2014, GSBB filed an application to be retained as general counsel to the

Chapter 7 Trustee. On July 31, 2014, this Court entered an order approving the application.

          2.       All services rendered and expenses incurred for which compensation or

reimbursement is requested were performed or incurred for or on behalf of the Chapter 7 Trustee.
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       3.      The services described in this Application are actual, necessary services and the

corresponding compensation of general counsel is fair and reasonable.

       4.      The expenses of general counsel described in this Application are actual, necessary

expenses.

                             General Information and Introduction

       5. The Application Period is from 07/17/14 through 02/14/18.

       6. This is GSBB’s first and final application filed in this case.

     Application      Application Period     Requested Fees        Requested          Total
       Date                                                        Expenses
                     07/17/14 through
    02/14/18             02/14/18            $7,495.50               $0.00         $7,495.50



       7. A voluntary chapter 7 petition was filed on 04/15/14.

       8. The Chapter 7 trustee was appointed on 04/16/14.

       9. The Chapter 7 Trustee filed an application to employ GSBB as her counsel on

07/17/14.

       10. This Court approved GSBB’s retention by order entered on 07/31/14.

       11. GSBB applies for compensation for the Application Period under § 330 and § 331 of the

Bankruptcy Code. Any compensation awarded to GSBB will be paid from the chapter 7 estate.

                                      a. Billing Summary

       12. GSBB has not previously filed a fee application in this case.

       13. In general, the services rendered by GSBB as counsel to the Chapter 7 Trustee during the

Application Period included the following:

            a. Objecting to and resolving in exchange for Settlement Payment Debtor’s Motion to

               Convert;
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                b. Analyzing claims filed against this estate;

                c. Representing the Chapter 7 Trustee in all matters concerning retention of

                   professionals in these cases and their fee applications;

                d. provide the Chapter 7 Trustee with legal advice with respect to her power and duties;

                e. assisting the Chapter 7 Trustee with discrete transactional matters including

                   settlement agreements; and,

                f. rendering any other services that the Chapter 7 Trustee deems appropriate in her

                   business judgement.

                                               b. Fee Summary

          17.      GSBB expended 26.6 attorney hours and 4.7 paralegal hours during the Application

Period rendering the above services. Attached as Exhibit A, is a chronological list of GSBB’s

professional hours detailing services rendered by each timekeeper for the Application Period. The

total fees that GSBB incurred for services rendered, as reflected on Exhibit A, rendered was

$7,495.50.

        18. The hours and corresponding fees, GSBB is seeking compensation for the attorneys

and paralegals detailed in Exhibit A are summarized as follows:


   Timekeeper             First Admitted          Hours                   Rate                 Total

Gary F. Seitz                  1988                1.0                  $400.00            $           400.00

Holly E. Smith                 2006                 21           $300.00/$310.00/$325.00   $      6,439.50

Jennifer M. Zelvin             2002                .30                  $300.00            $            90.00

Gabrielle Winick               N/A                 3.10             $100.00/$140.00        $           310.00

Alisa Gottlieb                 N/A                 1.6                  $160.00            $           256.00
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                          Application Period Project Category Summary

 Project Category                                          Task Code       Hours       Amount
 Case Administration                                       B110                  .70     $ 130.00
 Asset Analysis and Recovery                               B120                  9.0     $2,819.50
 Fee/Employment Applications                               B160                  2.1     $ 306.00
 Fee/Employment Objections                                 B170                  .50     $ 200.00
 Avoidance Action Analysis                                 B180                  .60     $ 60.00
 Other Contested Matters                                   B190                13.10     $3,880.00
 Settlement/Non-Binding ADR                                L160                  1.0     $ 100.00
                                                           Totals               26.6     $7,495.50


                      Application Period Expense Categories Summary
               Expense Category                               Amount
 Totals                                                       $ 0.00

                                         Certification and Notice

        19.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

GSBB believes the amounts requested for compensation and expenses reimbursement are fair and

reasonable given (a) the complexity of this case; (b) the time expended; (c) the nature and extent

of the services rendered; (d) the value of such services; and (e) the costs of comparable services

other than in a case under this title.

        20.     Pursuant to the Local Rules, GSBB is serving a copy of this Application upon the

Chapter 7 Trustee, the United States Trustee, the Debtor and Debtor’s counsel as well as counsel

for the United States Trustee. Notice of this Application is being served pursuant to F.R.B.P. 2002

and all parties of interest as they appear on the attached service list.
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       WHEREFORE, Gellert Scali Busenkell & Brown LLC respectfully requests a final award

of compensation in the amount of $7,495.50 and reimbursement in the amount of $0.00 for the

period from 07/17/14 through 02/14/18.

Dated: February 15, 2018                  GELLERT SCALI BUSENKELL & BROWN LLC

                                            /s/ Holly E. Smith
                                            Holly E. Smith (PA ID # 203979)
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                                           Counsel to the Chapter 7 Trustee
